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                           UNITED STATES DISTRICT COURT
 1
                                     FOR THE
 2                       EASTERN DISTRICT OF PENNSYLVANIA
 3
     NYESHA RUSSELL,                          )
 4                                            )    Case No.:
                   Plaintiff,                 )
 5                                            )    COMPLAINT AND DEMAND
 6
                    v.                        )    FOR JURY TRIAL
                                              )
 7   TRANSWORLD SYSTEMS, INC.,                )    (Unlawful Debt Collections
                                              )    Practices)
 8
                   Defendant.                 )
 9                                            )
10
                                      COMPLAINT
11
           NYESHA RUSSELL (“Plaintiff”), by and through her attorneys, Kimmel
12

13
     & Silverman, P.C., alleges the following against TRANSWORLD SYSTEMS,

14   INC. (“Defendant”):
15
                                    INTRODUCTION
16
           1.      Plaintiff’s Complaint is based on Defendant’s repeated violations of
17

18   the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”) and

19   the Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq. (“TCPA”).
20
                                JURISDICTION AND VENUE
21
           2.       This Court’s jurisdiction arises under 15 U.S.C. § 1692k(d), which
22

23   states that such actions may be brought and heard before “any appropriate United
24   States district court without regard to the amount in controversy,” and 28 U.S.C. §
25



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     1331, which grants this Court original jurisdiction of all civil actions arising under
 1

 2   the laws of the United States.
 3
           3.      Defendant regularly conducts business in the Commonwealth of
 4
     Pennsylvania, therefore personal jurisdiction is established.
 5

 6
           4.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).

 7                                         PARTIES
 8
           5.      Plaintiff is a natural person residing in Philadelphia, Pennsylvania
 9
     19150.
10

11         6.      Plaintiff is a “consumer” as that term is defined by 15 U.S.C.

12   §1692a(3).
13
           7.      Plaintiff is a “person” as that term is defined by 47 U.S.C. §153(39).
14
           8.      Defendant is a corporation with its principal place of business
15

16   located at 507 Prudential Road, Horsham Pennsylvania 19044.
17         9.      Defendant is a “debt collector” as that term is defined by 15 U.S.C.
18
     §1692 a(6), and sought to collect a debt from Plaintiff.
19
           10.     Defendant is a “person” as that term is defined by 47 U.S.C.
20

21   §153(39).
22
           11.     Defendant acted through its agents, employees, officers, members,
23
     directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
24

25
     representatives, and insurers.


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 1

 2                            FACTUAL ALLEGATIONS
 3
           12.   Plaintiff has a cellular telephone.
 4
           13.   Plaintiff has only used this phone as a cellular telephone.
 5

 6
           14.   Beginning in or around February 2017 and continuing through March

 7   2017, Defendant began calling Plaintiff repeatedly and continuously, regarding an
 8
     alleged Dental Solutions debt that was incurred primarily for personal, family or
 9
     household purposes.
10

11         15.   Defendant’s collectors called Plaintiff from telephone numbers

12   including, but not limited to: (215) 845-0953 and (215) 989-4083. The
13
     undersigned has confirmed that both numbers belong to Defendant.
14
           16.   When contacting Plaintiff, Defendant used an automatic telephone
15

16   dialing system and/or pre-recorded voice.
17         17.   Plaintiff knew Defendant was using an automatic telephone dialing
18
     system and/or pre-recorded voice as she received automated calls that would
19
     begin with a pre-recorded voice.
20

21         18.   Soon after the calls began, Plaintiff told Defendant to stop calling her
22
     as she was unable to make payments on this account as she was not employed.
23
           19.   Once Defendant was aware that its calls were unwanted, its
24

25
     continued calls could have served no lawful purpose other than harassment.


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           20.    However, Defendant ignored Plaintiff’s request to cease calling and
 1

 2   continued to call her, knowing the calls were unwanted.
 3
           21.    Defendant’s calls were especially disruptive to Plaintiff as they
 4
     contacted her while she was in the hospital during the month of March 2017.
 5

 6

 7                            COUNT I
            DEFENDANT VIOLATED §§ 1692d and d(5) OF THE FDCPA
 8

 9         22.    A debt collector violates §1692d by engaging in any conduct the
10
     natural consequence of which is to harass, oppress, or abuse any person in
11
     connection with the collection of a debt.
12

13
           23.    A debt collector violates §1692d(5) by causing a telephone to ring or

14   engaging any person in telephone conversation repeatedly or continuously with
15
     intent to annoy, abuse, or harass any person at the called number.
16
           24.    Defendant violated these sections when it placed repeated and
17

18   continuous harassing telephone calls to Plaintiff throughout January 2017 and into

19   March 2017, and continued calling after she requested calls to cease knowing its
20
     calls were unwanted.
21

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                                  COUNT II
 1
                         DEFENDANT VIOLATED THE TCPA
 2
           25.    Plaintiff incorporates the forgoing paragraphs as though the same
 3

 4   were set forth at length herein.

 5         26.     Defendant initiated automated calls to Plaintiff using an automatic
 6
     telephone dialing system.
 7
           27.     Defendant’s calls to Plaintiff were not made for “emergency
 8

 9   purposes.”
10
           28.    Defendant’s calls to Plaintiff after she revoked consent were not
11
     made with Plaintiff’s prior express consent.
12

13
           29.     Defendant’s acts as described above were done with malicious,

14   intentional, willful, reckless, wanton and negligent disregard for Plaintiff’s rights
15
     under the law and with the purpose of harassing Plaintiff.
16
           30.     The acts and/or omissions of Defendant were done unfairly,
17

18   unlawfully, intentionally, deceptively and fraudulently and absent bona fide error,

19   lawful right, legal defense, legal justification or legal excuse.
20
           31.    As a result of the above violations of the TCPA, Plaintiff has suffered
21
     the losses and damages as set forth above entitling Plaintiff to an award of
22

23   statutory, actual and treble damages.

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          WHEREFORE, Plaintiff, NYESHA RUSSELL, respectfully prays for
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 2   judgment as follows:
 3
                 a.    All actual damages suffered pursuant to 15 U.S.C. §
 4
                       1692k(a)(1);
 5

 6
                 b.    Statutory damages of $1,000.00 for the violation of the

 7                     FDCPA pursuant to 15 U.S.C. § 1692k(a)(2)(A);
 8
                 c.    All reasonable attorneys’ fees, witness fees, court costs
 9
                       and other litigation costs, pursuant to 15 U.S.C. § 1693k(a)(3);
10

11               d.    All actual damages suffered pursuant to 47 U.S.C.

12                     § 227(b)(3)(A);
13
                 e.    Statutory damages of $500.00 per violative telephone call
14
                       pursuant to 47 U.S.C. § 227(b)(3)(B);
15

16               f.    Treble damages of $1,500.00 per violative telephone
17                     call pursuant to 47 U.S.C. §227(b)(3);
18
                 g.    Injunctive relief pursuant to 47 U.S.C. § 227(b)(3);
19
                 h.    Any other relief deemed fair and proper by this
20

21                     Honorable Court.
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                                DEMAND FOR JURY TRIAL
 1

 2          PLEASE TAKE NOTICE that Plaintiff, NYESHA RUSSELL, demands a
 3
     jury trial in this case.
 4

 5

 6

 7                                         Respectfully submitted,
 8

 9     Dated: May 17, 2017                 /s/ Amy L. B. Ginsburg
                                           Amy L. B. Ginsburg, Esq.
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